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                                   STATEMENT OF FACTS

       Your affiant, Blair L. Goltra Jr., is a Special Agent assigned to FBI Newark’s Joint
Terrorism Task Force. Currently, I am a tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a special agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 10, 2021, an anonymous tipster (T-1) submitted an online tip to FBI’s National
Threat Operations Center alleging that an individual by the name of Robert Petrosh Jr.
(“PETROSH”), of Mays Landing, New Jersey, was on the steps of the U.S. Capitol building on
January 6, 2021. T-1 provided the information regarding PETROSH voluntarily, without financial
compensation or other enticement/inducement.

        On January 17, 2021, an individual (W-1) called the FBI to report that PETROSH had
entered the Capitol building on January 6, 2021. W-1 stated that W-1’s grandmother is good
friends with PETROSH’s mother, and that PETROSH’s mother told W-1’s grandmother that
PETROSH went inside the Capitol building on January 6. W-1 further described PETROSH as a
white male in his forties or fifties, weighing approximately 300 pounds, with a round face, red
cheeks, and short shaven hair, who resides in New Jersey. W-1 provided the information regarding
PETROSH voluntarily, without financial compensation or other enticement/inducement.

        On January 27, 2021, your affiant interviewed W-1 telephonically. W-1 claimed not to
have any photographs or video footage of PETROSH from inside the U.S. Capitol building, and
further stated that PETROSH had been lying low following the arrests of other individuals who
entered the U.S. Capitol building.

        Based on this information, the FBI obtained a copy of PETROSH’s New Jersey driver’s
license. On January 28, 2021, the FBI found a photograph (Photo 1) of an individual resembling
PETROSH inside the U.S. Capitol building. 1 As shown below, PETROSH—circled in red by your
affiant—appears to be holding a cell phone in his hand, and can be seen wearing a gray-green
cross-body bag, blue jeans, and a black long-sleeve t-shirt with a white emblem on the breast.




                                                     Photo 1


1
  Photo 1 was originally submitted to the FBI via an unrelated tip regarding the individual wearing a black face mask
in the foreground of the photo.

                                                         2
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        The FBI has also reviewed closed-circuit television (CCTV) footage obtained from U.S.
Capitol Police that appears to depict PETROSH standing near the House wing door at
approximately 3:20 p.m. A screenshot of the CCTV footage is provided below as Photo 2. In
Photo 2, PETROSH—circled in red by your affiant—can be seen wearing a black long-sleeve t-
shirt with a white emblem on the breast and a cross-body bag.




                                                    Photo 2

        On or about January 28, 2021, an individual (W-2), a current FBI Task Force Officer who
has known PETROSH for approximately 15 years, positively identified PETROSH in Photos 1
and 2. 2 During a subsequent interview, W-2 stated that he previously worked with, and attended
social gatherings with, PETROSH, and occasionally sees PETROSH working in the yard or
garden.

       On or about March 24, 2021, W-1 positively identified PETROSH in Photos 1 and 2.
During an earlier conversation on March 22, W-1 confused PETROSH with his brother, who W-
1 explained goes by a similar nickname, and told the FBI that PETROSH was not in Photos 1 and
2. However, upon further inspection and review, W-1 confirmed on March 24 that the individual
depicted in Photos 1 and 2 is, indeed, PETROSH and not PETROSH’s brother.




2
  Aside from positively identifying PETROSH in Photos 1 and 2, W-2 has not been involved in the investigation of
this case.

                                                        3
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
PETROSH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that PETROSH violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Blair L. Goltra Jr.
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of April, 2021.
                                                                              2021.04.29
                                                                              14:38:43 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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